                      Case 3:16-cv-02009-SRU Document 1 Filed 12/08/16 Page 1 of 13

                                                                                                                                                 1



                                                   Cint\-ea      (J‘sAvic,-t- Lour\
                                                       -WAck c3c Coxv\ec_-hc_krk


               r\-1- \■a3,       ,                                         Oinc.66-
                                       \c,m4



11\c-1/4\-\.‘ Mcskiv                           VkAclorNcl elo
                                 d'f
   AV r A \\XU\\C\CAY"            -‘°I\ 1-\\D8
cc 5c                        , VA \I\W‘ ScAvc\c\S

 cior -Yrc,   SO\Ime csNO,               \V.A. Ova.°

      Sue       VC\              vac.11■hc.),uth n ca

              c-r—Vc'c61e-s,
                                 icge_Aac,„Nvs.                            Dec4_.ry.e.r 1, a b1Co

                                                                c

                               -3eA`'‘`"            " \r"\cls
                                                                           etltx.
                                                                                  cs`1)-`\- At
                             cicac\--s \r‘c.vtc_ \ttmuo ne,y 0.6imp_a Wven Cr, tcleffErVE MLA-We.
                                                                                                                  `)sc-%\c‘I'3
                                                                                                                          e.f\

 0..C\tcucae                 r                   WO/AY:Y..4k -Cog- \r■Vs                  0-e_c.Y\ \nc.c_11\ S\isoc_AtAtA


 C'" , \i\\? CSY\a‘\-\\ S               CA\      C.X\°1/4-k3IY\C\ SUCN\ C_Oi,o,v'1iOf1S       clat,,,i%D.re....-ve_ 1r.      \It cAt...*A cx-\

       -(he E 1trAN\ P1wv.0,clyvviesk                  ANNE      \Nke_a CT.2C'e           Sit 1'C




       a.        \LAI-4                       R-cvichty, (r.r?vArc\--g              ks
                                                                                                           (.0
 AN1e_ tV)Skoal A *Re_ C__CNVNECkiCA.A- 3r..%\m,t-kvc,Ak 6g Larne ei-lbt.                                        foc")              Gk

                      LoprecNioc.c....\ \x-\SAA-uitx\         ( rr tA:3.14abr(C)

                                                                                           SCANNED at /t)
                                                                                           and Emailed
                                                                                                I byC6   --0 .                           pages
                                                                                                    •a e          initials        No.
                     Case 3:16-cv-02009-SRU Document 1 Filed 12/08/16 Page 2 of 13

                                                                                                                              2


                     c e&,(Ickc_A             (1-‘& (!fie,n-m&-1 S 3(,e CorneMS.Slcneit aSZ
                                        cam se,
ANNe                       cad-x S csg              ComM\ \Wt.*                 C_c)4N- CAANN C4 C._        Ove_SCArA\ThP


       Lcx\c\ .                            \          \ P\N             steNexx-A Acvme_s \\e__ cars c.chr\c\ u.5t‘V\A

one s cc e_ A Nms                                     csa

              -k‘Thc.);‘)\-1-K,1   cc\a k\c-i‘a

                 1C-c-ziac--A s \"=-Akocica          c.),0006,3,0 (r Vkc-Nc6eN)                             'ck_N-1W-Ar

 WcA-zVg. cr\            AO.C3K\Ot             ck         \\Vcr .
 t_visce./A- k.)3cAmle."             Nor'MeAr,             so r.                    Y.cc   ci■cl car \,c)       c_e_ArkciA

  e-s.'''N\s‘\&\ \\-\es as c-?9°\                               6'S \c'Ni -the_ Coen \ ssr-
 C_D“ e cfi          x aMe c.c1c.-sVc.x.                         te_mve,-&--- (IR      s ck

  c`'``a                 care (1g \ AW.CkeS                       PA cj\ e\e-\JcA 3"`e—s
 fey were LLcincc uJtkr.(\                    --%txr
                                                      ex'‘'\ \"(vt`rN- c''\A
                                                                           c_c_kY.,,c2NAcs
                              --‘6v-A"c w\c.\\NA'k'c'


                        e,n&A YAc MtAx-cif (r Mt-u{ex                           s          Oki ts---VY          8c\e-c, \\V

  e`'N \ce-s -C°r                         s s-)c-"\A 1\'`e- \\cs         91—Nrs‘Na"cle-s s
 cw6k,c\-\--e_d A■ciu..k                    Comoms:Stwu ads C_oocezhot. cDf °Jew s-eekoo\

 ?"\i‘ v"'(\ c-X me-A'ca curt- cx\ck )CYCL-\\AU-C\- AcID                                             e-tx `A -\\'`' °`'c-
                                                                                               c1)1\C'
                                                                                    SC c
             (e-\'`A                 ' L\\Q- WC'S LE)MC\ b'A\tA \\C%e-         C19‘
            \rAeic     c Aor                         \ \ S SU e VI\ \N-tAir -VMV\XCIUCA CAV.1

       C‘c\

         Co . DAe.,,c‘c,Ak                      LOU 6          Lobel > \ s c                        S-eArv\c_e_
  P\Alr6v                                           PA.        frAem-(A )
                                                                        C■roe.,%,\""cx.                  cchos\




                                                                    a
                           Case 3:16-cv-02009-SRU Document 1 Filed 12/08/16 Page 3 of 13

                                                                                                                                          3


       C.)3A-\\r\             sc_ce \ms e...aNcAor\ex-ssc GNI                       cc$cs        ,S\ e_ e_                 \\e_ s sue d

       -\\'■        s                              et CA Cf,      cit-\\ es .


                    1.                                                                                                ac)c\l-Y
                           °Xtir aul'y
                                \


   ass■Ted \c \-A_N--s&t.gy._ A s                                    kysx.,.s c__\(Ne       s-c\KArt,..\ maw au as Oro

                           ,yyza,,a eG ,ov                                  3(\c\e_ VAA aufk(\c\ -X\r■e_ ,c3,(‘C).A 09s-

   \(\             CC<&(\e"Nejek            NV>cAveA'(\ ' P\>k          c\r-'`K''\\ )."\e3 \-Ne- wcs             kf\r"\ L'''k\A°A
                                                                                                             'r s Sued \\(\ N\ks
   sc-c             139'       exl\\4-      VrntAC cx4 ul\am r `-‘°`                     cb-Ve \c".`A • k\e-
   kv\Ak\A°A-ci u`a                               cc    cches -
                                                                                                                     (re
                         (:),ELALA            yAk,                 r SCrOCAC:i) %CAN-                   C.,\)LA e-          c-kx -e-\)
  end                        Our            (Pr                                         c,‘Ly\e_a             \V,c-\'N-Ne,y\
   subrN A'vw-N\ cr e severa li.A\\Acv.y.,\A u3\\D, ?,( DvkAtd meakc_r_.\ cut cM
  -ctewre,s\.                         \L„                             c3e,floA            \-;\% cN,s\ re_wwidc

                                cA\ (8Nu`A 'hi\f)e-S                              c'chAc1 u-Av\‘Y\ )(\'\k-
                                         c...x0eu Lao( 4                                         c.,y-e_ _sue a \ -'‘)A,kr
       Atlxv\Aucl, cirvk Ac-rcik ca c_c_9c,es\-\




               A.       \sc.);\Oclor.             yrs                  tr\ is heed 9 rax.si              acc.
                cnd cgiS(c..) (.4                                   Pww3orneirk -W\e_ Uf\A---c_A Skeve_s
 c_onsy..
               Via. Q \              \i`e-s e)(\r"-'3- c\ 6\ '-`)(          ke      ANC'f\\1\\ S'ICNieq\)e- elei\ea\ es a~xSC.x.
-/CC    -\11,Ne_                          stt.,,,,,,ea\e_s c --w\e__                    -)N\ e_        Saner LtkiynorN
                            , USE \ckYk.e_(c).
           Case 3:16-cv-02009-SRU Document 1 Filed 12/08/16 Page 4 of 13

                                                                                                                                      4


                                               `_)-\-C,c-VeArsn-e..\-     c:5-C2    \--CA's


    ? c, rs\1                     cl                     al_c_ca__Cs..\_. a
                                                     t_____                         .•

     \\ ,        on --le,otic"A 2D . Dc-\.C.A, , R \CAri-\"1                            u_Ne.,%•0..):\c„.Cr.0 Se, a c.k.i4e.
                 -ecic.6-\\K-          r/ ch sc    en a     A.0■14--"              al.se_ast -x I-. \r\-\ s ne._e..A        cs■ 6
                                                             0                                           re
                                                                                            el\                UNCV     1.-__ r
    rA__ _S e 't,,, rn.6-c-1             61-tiAtr\N‘ C),) icJ   \\   e S ,MD-        y-y‘taxca 3t_.ve.,..1■or, seceu\cA
    .,e1.1ut" ;,,, MAN.\ S \r‘C.XNkaex s \ CAN ca " \ A f‘eC-,r                                        . ra c_rn rn        cit
    AeAn 54.1\-1,-, \effit- Pr\ ciouNor't tivyN, ss...1.,.., ' \


    \D (')\'• PivEv* \c■ ta6\c-, \'\nrcli--g- ei-Kis 0 \ o,c no .ca 0-1■-1/4Y\ a
)   --,sew \ C-3..S \t"we \S U_Ie_


    1c-I - C) 1•\         Ic_Nle,NrC\\(-312,41" ct . Q4A(0, ` \_c_A•a\N
                                                                      - Y--q                    WeAS a\ . osnos-e a Lt.3. 1
     rr c? ce: ev\ c._ N.eArNx              SvLavoem:" •


                            tr
                                                                                                 ' ■    k2     g€6.     - AI      -

    PC.'\ n       \ 'i.   -11"---Q c\\ CVaAircSI-           puts cg Nms -,(D\fe

                                                                                           re
    ■
    5           v\e:,v-sy-S ■
                            .0.)CAS olke,y0 secs ci....i OM                                      rec■109\ C.     e ck
                              ..0
    cA ' Ic"\              v-r■                                                             - , v- -                        $
    V-3.ene\ 0,-ec-e,Aosr --\lne.)                Cas\-P,r --W■c,f)            \i-N1I    \A- ..e.....


    \ Co . V \ cAT.--VCg -ex pew ■ e.,-,cT s                     rAvs \e_ cTeks-ro s . my.m\on.ess. ,
    ''''1')\-e)"3-1 k P-\ C\ (3C;Vf            \ '4 \''\ VesA- S\' CA-AA-21(' Cer te..(1"1
    -\\-vcoV 33\(>. c3.-5\--- -AAr\z cie_N\ \ .eVeANNelek


                                                                      4
         Case 3:16-cv-02009-SRU Document 1 Filed 12/08/16 Page 5 of 13

                                                                                                                                       5

                \e-\n\'`W                                       s         KW Se k       vAsi-cr, > -\-vcNt\e"D s 3     k c4-\

 ()cm,               1,\A s                                                                                 - Woe e




 \q6-           e.-veis4            ,p-e-;r \-t-nce S                    c c_0()\-3 \-0 ak‘C-V\ c          shy{      pe,:\ ,r\ 5
 %kes\o\o■,n peAn s cS\c AArwoNoh-N-00) ,NEvr\s                                                       --VreAreA 5 okc-)\
 \■,‘                           'Pt\           c-(-‘                                ,                   \A\ s \a* - \r)c,1-\ ck
        d, Pry\Tr 3             C,f1r),                                                          N -- eve
o             ---X1n..a eIey e \J



1Q1 ?                         expeW\c.f.\ ce s m                              (\-e (-w\c).+N.QA                AV\ \\NS

                cArtri c_y-\                     hoc AeAr s car tct , v so aN c..x■OreAr ANNQ
r--f- fY\ c)`\--s                              \-)Se-s ex)wsei(Nt\Q- pe-ACN 0-,IN cl \ ITI'fre cal                reNt,Qr~C1I

        Cis




D-C3                            \ C-CA1 coc\ chAAor\ cArt                       pr_i s           JON (3\Mra       1S

-e›<peer_ve.A_ 1i • •           I                                               `AS cs-rno ike.. kg- -                      1r1\ s

                           t•                        ••                     c1-4,                      1


S \(-0.1\.cle'r C.A.O■                         cot


                                               k bac14N , \Pcx-AAP,
                                                                  r                                e c-tex -4\s, fxAl‘ `A-v
exr3e,:r                                     \WV\ \ NeM/P2ok IY\CA3'1V1\1t.



                                       To.           -   • WI       lk                                                          I Al



                                                         cu\-                 cynex ‘r,k s-k11\ cAckeirao,rcirkw,_




                                                                            5
         Case 3:16-cv-02009-SRU Document 1 Filed 12/08/16 Page 6 of 13

                                                                                                                                                                                              6
c c,i-N005\--      wr_e_Nr          __.v,ne,f,_g.>j____f,c>ctsiHy,iv)cuc_A,xAr2__be_c.,,c,clse___y-\is_e-kc.,k__ .,,. le                                                                 \S

                                                                                                                                                                \kas
SATC:16Vn 3Z "&‘ AhC;?5- .111 t-12-1C                                                PC-:"C‘A              "          -1.1 \4k2      5.1c-S             \                    '-le"." c'S

SC,AnsLi rfNe S              s'-e__     -          SV1C-e % -nn                  1(nc, \I\ koc■                 L,,SYAcly‘ o_c.,,,vy Se %           cern          kOz, .




                                            ,          ■                   .41
                   .1k       .    VA%       iIL.                   1111S    a        -    II               •           & ••      ,    ••        ce_y____5GSSs               ,_:\-\


d■i\\          cod           rw,ArY11,JS               \'           \J \ t.cc-\      as we..1\ ckS                     rncakes             0\or s                 c.        ,LS


 SrAcul‘e,r --\Mc.f.                iJrct5-- ithear                 a cl
                                                                       i-va..1\-\ Cat,                 ky3r-W■ ir_se c4-- -% 1-\\                           s     r‘c.0- e ie
                                                                                                                                                                     3




          N_GA__PmaCe1 c-N\__g_TST-e_e;V,med&




"DS        Ozge"Ac...eks c'SciA)0As , -CL\3 6r2                                           , C.:( \$4             CLX-Y1C               'eve             \MexN ?                   C r,
                                                                                                                                                                                      %
                fh•

C__CCVS-NC( \ S



g Co           ' \ carINIArg          c`c-rk ncs\--               CA c_      S% --(hti ck, char
                                                                            e-                                            \ANNCLs \ v.                chfc)10
                                                                                                                                               '•-wV3 i                      -Aim._

                                                                                                                                                    F                  I
                                                                                                                                                                       •
     ,              -- ...!At       1 ii.          •        16.            aiA                    -              k_           - Ail        a    ■            lb     atm 1

\ SSve_3 -'rv OR c.\ AR_ c.na "cfeth- ciinc*- -r                                                                 batcv.) t.),Sr`M \'\\1•(\ ; A1-■-ei(-e_1-1
Vc\szYN CyCNO c ce.s. Ss -6 ANNsz_ ac)_c__A\.yor____fx.                                                                                                            .-_


WI . Pege" 6 exc.\-- S                          Ur„_L.),C-e,r. 1 'One                \ , r" a              nixierr\-                 )ncr_ve... elzAie a
                                         w                    1             ■ S •-                    O.        In      il Al.                   ..L.                             ■ ,,
Or till •                •          "
 .11k .        '   • 41.                                                    .•            .       II/P      l




.... ■    1111-1
               ,1LA,     A    lia                  •'                ■ ..                      -."■        t.            .69gSLe..,,
                                                                                                                             -       CANCX              ,   w{Y\c)
 ,,,       -         % L2                   lit .                           Ph   a       ta • a!                                                    ays_fle..S.A.C___, 10D ci& s
  \C■c.A.3\ cle,r 5              cf\ a       hvp                     r      cl.-Nee_Y_a        riM pnory\Akb




                                                                                          Co
            Case 3:16-cv-02009-SRU Document 1 Filed 12/08/16 Page 7 of 13

                                                                                                                                                                      7
 rack         (- kgsinac,,,rs         AIL. -      t.             L.         - .. _ • -           ..-                a          L..)c__\xcAke_
  ck-'e.     ea     c,(NcX-0-e_lc.,.\te_a       i , . ... °:                               .. .,               t   iksz. X •                  .r_-1.s   .,_1   \S


                           •. ,                   .._,                   t
  ,` ,
     mac        csn.                     i                to          an ii,/               •       -          `.S "
                                                                                                                          It   a     A-        Y - \-C-:\13

-ate.




 c.2.(--)     OS-e,,,aa,6\-_s_ j\,\c„Q±,eif , L oce,k , c,„-‘,3: \a- \-- \i\c_;.\ ;Q.. a,,,,,,LA_ ,,,,,a c,‘„\N„,..4
            AD‘c_vii\-\V        sez-Nix,Attnk             \,r)■‘ e11-2 Slit-y-11 -3ID e_cn•AtMi- II\ S e (,rlel.riAcNi) , t:41 A

A1P___pki2Li'sb,W                        -       .e. a .. at .1.               S I.        . At.           .   ribs..




  • ..              .r               ' . e oc----IN.A                          SS   _


            • 6a               C. C_ • ,. ...    ._ * Co                    • ..'          „..         .                ACE,              Se_AENclaeck
Aklaca                 ♦         I,. u           i. - .               -.•. -                     dims 0' r                     ce-etalA,
 nvizIr\--sre 5_5



3a            az re-e4, Ac"\--3           luke-kko-r\ a ao                  G•r\ A        i'luAl cydr‘             c:),\f a ? \c-wa
 cArl        C. c.X.ei,4uCavz_ y-Y\CA-\-Te..!                  "■4"le__,e       ill s Cstgru)           A'YV../CI
                                                                                                                TV        Cc       VAcIvr---Wpr\ .
                       1/-


33            ? \ tArA\gq-           S       PIN 0091-Nre-%S           \ S          tkx,./r, , NW (1                , ci-N A at-wl c.,._o.-e A                   _

                                                                                                                                          .
                           f!                .. ..,,.. -                    .                a             a              •
e \Q,I c_e g           cx\ a      C(YI                    At,         cX,C*A-Z> ./. \ csr r-a-le_. .




'n..?        \ e.y% • OYN       -ke‘r -) .'rk. CleZ \ aV-C-                 ;1C‘        0/00A '\\/■.)t)                .(\ CM-P-Z         GA ).
be.c,x,A-crs                    SAP& -*VA- --k)r ge_tAs 11W-- \ruC S                                               \IVr‘0) On i
                                                                                                                              kk                        fsr\ r\-CLI



                                                                             1
           Case 3:16-cv-02009-SRU Document 1 Filed 12/08/16 Page 8 of 13

                                                                                                                                                                         8
     \- -e olqi- ce_msz_t33 \--W\Q:ksls-             ca-,(1    ril&c\- re_




 '-z   CD ,     De-ge-c\c             3    c\c,Arn 4( \O-\nyre                          \     Ir\CAThen - ct) SU\OSI
                                                                                                                   ctdrAl
                                                                                                                        ‘t6t_ AAVA-

 4N2_                                      01 cer\ye._,,                       as\- rneec-
                                                                          cc) il                       -         ?c44                      e.g- '1 S S   .T.,.%•\ Cze_


                etas-   N\O•r*Ntex-f\ .




 "31           ? \ c;■ sk\41?         S'     mer\ -\-Y-e_n                  eAo3y eAvexi-ei                 e.4\ c),   -e     G.   Qz/v-No ac\-re 5         \nls
 n-e_cl4N , )0eAcA ‘ \irY\ sp , CA\ a                            sNew.._ao_YeAr- s                    c...neceN                   CC.A.3S.-cc) c,)    .\,N. \ sy\


 e(NQ         be_ se e(51-A s              cc\ ex             ero c.3NLA A.e.-Nes _


       5,Aac-1.                                               I.11             l. & CT , cSCA) C. \ e-- ‘              Cyr\   a      f. C.,14- VIO

 e-kwo iNN6Y M).e_s (0‘iCY■ rY-vozYmee-s                                                          \        CA C-       .3
                                                                                                                        -hc\)c)N          CciN ten-0


 ex\    a irncia- nvel‘c_Di 06 Ads- 0 i-bv ■ ae rm a‘ta MdtVre M-e—S -


____Dgg...ock_c&-s                 Nle....Ye \-j
                                               •te,,q yin T \c...vAW --INuz_ e1/4.3iN edvol.c,k
                                                                 wej.b..)_mc&neeza_




 I('-eN_Nae,ro6-t. Vi\a\gA-Ace,


L      a        •-an. -..     .,                 •                                       -.            • . te ... -.... , -\-vj?• \_.,vcc-\-4‘ s
 .   e...r- \c.m .s     rnsz_cYk c c.1, (Nes. an

                         oicpc,,vis        v\e,e,,,,,
                                                              co
                                                                                                                                          If
                                                     t.I i& .        AA        I■   .         •        ■,.. 4.     A    :US t        '*        '      IA


                CSOICIA         ACIN                  MSMR.CIA-C.2.1----C1---0a-




                                                                                    (6
          Case 3:16-cv-02009-SRU Document 1 Filed 12/08/16 Page 9 of 13

                                                                                                                                                                                           9
____L)          4(e              AIL                 1.■       .__.• _    .1.                      s. _1           \ALA he edsf              L • - ..              . • . .1.
 .
          .     •                     •:-       f•          ilb -         o     U3zAPe             cw•o\jkae-,1 tili-\‘'sil                         c...A-Nkk s
 'Az a \ c__ ej, pe_c_61etS                  rick --k\ort-reg-we_.                   VANZA),)             0300,5k-              \c,-\A-Ts_
 l'Ne_AS cmvo --\hoe., P-tcorAs .



 'A ____C -c--e,(-1c)                                      v \r-e,r , Lk \r- e--K ,                si v-L-s's_-__Sci                    .-               • -             •
               •         •:.                t• A               •              r2_                  .. lout                                 .                 fi.         .11.        II,


 W \--\"r‘ c. Pce,,,-(\                                     r_,Axtlr\-e).siorr‘vscs.AfJor c_KN,&\\,_,,


      1
     (-        0 ::!:.• t. _IA - 11                                                  IL            L. LS                   A L. li. '                    '           - CA

 n cliY10                               tA 0.                                       s        t._                           . C.&‘       --W,c$A-     e-\--e_6-\\) eA.k
"\-e k \s ' \p<.) c.,,Y\et:Vs c,.m \c t.KY                                                         t\-e.,k.sit:As-cS\ ccd e...r■a iv),,,, 11\\..)                               C.)...)\Cr( •




1-15 _ (>4-Q.evtircs                         .X.c.u,Ped,r , LNCYa ‘ (Vae\ C.                                       % C-JA-De'S'? L   --\)(S‘c i                         \ CA
 (.3L,sc kik°         vvoct j,,,) 7 \A, \ (soar_           uo.r\,               r.,..vor\i_g \ s                   m za \ c% 4 csolok,vsA04.\ 5                        ‘ cA

c,.       'l    C\t‘r\WN x 'q \ ra.                  e r6\-Y              s         t 03k Ack c,cysecAi cat. C-.A a inm,e-e,r\otaze




LA. 9           C3S--e,r \ AC4‘\---3            tkr_AC6N CAtk, C.:ork a W-AVos..‘‘                                                Vvr\bu..) 31 \mak-                   \c,A--c1-4 s
                                                                   I
      ...A le                    .-         _ _ -Ka            SA •■•           • .                                 . • ,       ia ..              - '-p \-1\ 0.)-      CY\
                                                                                                      f
                   NA Aunt       ...            L.                 .% •   PI:,       •• _.          1...         I. til,        ...       \ .                          • I..•


TY\ t A\ c-a 1 5-%■)-e- s                   e3v. pc,--\-,                     ei,:)6Aodcert ().k.lfr\ '5Uti\r\ C., i•\alrS


4-1.           I- 4-_,_,A A 6.,A-\--, st\A l Neil" k Lx10-eA , DiN A (),,),,t‘ri3VY'v /AA-\\/\
                                                                                        0
                                                                                        - 4-K) C.
C,■_‘ 4/1           \ r, I% I'                                       A ' all% •               q".         \\-Q       Acz, ack_f__-_\}_e                             sur c,,.)
\(t‘ -el-e               (,.\\\ es,r6-vsr■\3-e- --'M. rArk-                                  Nr Cale- -
         Case 3:16-cv-02009-SRU Document 1 Filed 12/08/16 Page 10 of 13

                                                                                                                                          10
                           I0
    \ '.                         Ye e./NN-- _ a\NLAA -a-s v\QA____CA -24-xc6.<frks                          e.Noz_,\&_b1\ 5
csN■cisrkA -v-VS


 /- \ " .     \ c.‘ yy-\\ C \ S c,W4T-V\c_u\S We.),S Aws,, sOne_o-li- eg (Nc..).

03-1 \-e-Ai C-IN c' e--3    CA\ t),         NiNe-e-V-IN\ Sedsr-V1 CR-           is e_A-A-Z)5S.


     •      `(D - fv_Aa . 1                  .    a.i.,      Ae_ci -s6,R%ce__ssi\\kcryllsAxyi\t
xv\-e--. OA c_c1   r\-e e 43 1r). con\Nnu\-n) -'c■                              Sk306-P 6- \‘;■fIN AA) --\N‘k             cg..)nart\ons

og c_k_nc\--Atilv..nock                   cle3 c_CiNere_el \\-eds..Af■ c_A-Np), b...\. "ILANy\c,) Ac> kcJAp GI-NI
l   vai . 114M     k'      tin        .




                   v' \\C-w C-cA3 "1 ri \c"\1 \ 4 Al") IA f Vi\NIDC-Itb\e-
            .DIR"Ac-Y
VC-f rn ex\A \ \ c,vcc/    Neitm c.,(N ce)re_avcac. rtprAe.a.i etac- \c-aP3,


                                                                     v—s\- Cs),


    Q       '\m,,,ANW VC\ e cN-9c.)reace 5 -WQ GiL\c,Ns \r, (YAret41-140\ns \-


5`._        ii)c_e,n___&oks               W\ GA ckspo        ..                            _.&   I I            \\C.A-es_.),

    \e'X'CA4 S          T\I)VCS -1M `'re-                 v‘f.e g(wYNc_lx).e,\ ce(Na k.m35_)rk-)i eu6\e,\0,mtprk
    . ._.     ...           I ..A.,         a..           MI - '   ast•     I ka - ,• it:.         t.    1. ,        ..c .      t ..a.'

C-t1A13Ntt_w_eic&Ctec.b\k_A)00apsr \fN
                                    3                                     L-ka ■_.         .                              . . .A.
Ple-10e-fir0A-e- 11-NcAgeilft-Arl CS) A'6 ? kCA,e(14                                1    cocck,i)nzx      og-       c (An.mvurik"


    9. A s c. cilvt&S- cow ptZK MICOS'e . ft_suw ck -1/4.14k votaloiNs e&(\ivvc \,-Nre d
le3. -6..$) s-e_ C)e-einAc)..Pi'm . cRAc...Vri\-R                         A.e_,1\ e_CA     ("DVITAC_CA      \r\C,`CYY\     CI-e'tAi`ecA

\MAC-C.Ail



                                                                            \   ©
    Case 3:16-cv-02009-SRU Document 1 Filed 12/08/16 Page 11 of 13

                                                                                                                    11

                                                   ccx,c‘ C_corN\



                                                                WS        %




 Ca `g-e.r\ elrAINVS tk'SAVIONVICN, ‘10\\A\                       *.ke,l.VeAf 1-1\0CX L),)sf       C.31-NV

                              , G4cA
        C)S        CA\16.1               °Ur\°\(   \IICAlt        \trN"'°--3'      \C;WS.4.(1 5 "C15

                   -creAn c.NveA         ail   U( ) S 0 ea p.m s\cvmeArk of-N
                                                                                                             ..\0‘1'n
      \t3.,4-k-e              PseNtx\A•civiel'v SAk) - .)x-1-V,                 \-c&e_s C_oiAs-\11\m-WNA


                      Art,,                                    yce.c,l one ar_


    . AS c                                evt))clynele      Nis e-SLAk     v‘ova-Noas
                                                        ev.,\140 sA,rt- 421 --x\AR of„.1                c_d
                                \A-en-   V\


5     _PYS           Iv*                 pip-x1rACAN-
corv~vR~ ect by dna-at OeS-e-n duars\-S             ,                    54-kilta -*Ai? ,p1-1.\\ s`‘t 6-1
       rew.ft\-r.1




                                                        1
     Case 3:16-cv-02009-SRU Document 1 Filed 12/08/16 Page 12 of 13

                                                                                                           12




            a
                                       c.dnA          edrc-`6',   Premic\Arne,rk
kITAN-NtA Vcr_A-ps ('_,-r\''s'N?\-\??1c)c)


(a    Pm              ck‘nn cw- a-e.O.nc.3                             ,( sm\)         \_csi_a3s1g-




     -‘6Y.),Nr Asr\ Ax\-i\f-V) eJ ('      Cx\Ve-5



                                               C\g,cN\G_Gp_ GtC,N,c\S7- 044-e-iNc),EAS \         -\))-eV




S . `buc         er`Me.v- ,e.e.Avq c -)0(.4 C-curkY•t\c---\\




                                                                                 cy„
                                                        Nor           r\ CA


                                                       '3w•iNed' 5 , LA- 0(,, Crt
   Case 3:16-cv-02009-SRU Document 1 Filed 12/08/16 Page 13 of 13

                                                                                              13

                                      (3e_c:Aa\r-cAcx\


        -arn..INa        0,DI (`1"■ c e,r'cg\                      tArxr.AANI
_Aaca      NnYttro,     a ■• C%am •                    ia        ilk •    at           I a•

                                            a.%             t•

           --(\'A            1c‘-`7      m Cfr,    Va-t"             50"\-e 01   Zy-


                    0 C}C)Z) Siasa                L.)S(1 ys (a\           cd\     3S-11
